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                             UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF NEW YORK

NEW YORK STATE FIREARMS ASSOCIATION,

et al.,                                                      Civil Action No. 23-CV-6524-FPG

                          Plaintiffs,                        PLAINTIFFS’ NOTICE OF
v.                                                           MOTION FOR TEMPORARY
                                                             RESTRAINING ORDER AND
STEVEN A. NIGRELLI, in his official capacity as              PRELIMINARY INJUNCTION
Acting Superintendent of the New York State Police,

                  Defendant.
___________________________________________/

          PLEASE TAKE NOTICE that upon the accompanying memorandum of law, declaration

in support, and complaint in this action, Plaintiffs George Borrello, David DiPietro, and William

Ortman, Aaron Dorr and the New York State Firearms Association, on behalf of all of its members,

through counsel, will move this Court pursuant to Federal Rule of Civil Procedure 65(a) and 65(b)

and the Local Rules of this district, for a temporary restraining order and preliminary injunction

enjoining Defendant from enforcing unconstitutional background checks for ammunition

purchases and charging fees for the same, which violates Plaintiffs’ constitutional right to keep

and bear arms. See New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022).

          Plaintiffs respectfully request a temporary restraining order and preliminary injunction

prohibiting Defendant, Steven A. Nigrelli, in his official capacity as Acting Superintendent of the

New York State Police, as well as his agents, servants, employees and anyone acting in active

concert or participation with him, from enforcing the statewide license and record database for

background checks for ammunition purchases provided for in N.Y. PENAL §§ 400.02, 400.03 and

N.Y. EXEC. § 228.

          Plaintiffs intend to file reply papers.




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Respectfully submitted,

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Attorneys for George Borrello, David DiPietro, William Ortman, Aaron Dorr
and the New York State Firearms Association.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2023, the foregoing Notice of Motion for Temporary

Restraining Order and Preliminary Injunction and supporting papers were electronically filed with

the Clerk of the Court using the CM/ECF system and that copies were sent by email and first-class

U.S. mail to counsel for Defendant at the address and email address below:


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                                                   /s/ Ginger D. Schrӧder
                                                       Ginger D. Schrӧder




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